^     Fill in this information to identify your case:

      Debtor 1                   GRETCHEN ZAMJAHN                                                                                                                            USBC             pm
                                 First Name                           Middle Name                           Last Name
                                                                                                                                                                      2019fiPR5PHl:17
      Debtor 2
      (Spouse if, filing)        FirstName                            Middle Name                           Last Name


      United States Bankruptcy Court for the:                  DISTRICT OF ARIZONA

      Case number
      (if known)
                                                                                                                                                                      D Check if this is an
                                                                                                                                                                        amended filing



     Official Form 106Sum
     Summa of Your Assets and Liabilities and Certain Statistical Information                                                                                                  12/15
     Be as complete andaccurateas possible. Iftwo married peoplearefilingtogether, bothareequally responsibleforsupplying correct
     information. Fill out all ofyour schedules first; then complete the information on this form. Ifyou are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.
      Part 1.       Summarize Your Assets

                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own

      1.    Schedule A/B: Property (Official Form 106A/B)
             1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $                     0. 00

             1b. Copyline62, Total personalproperty, from ScheduleA/B.....................................................................................               $             36. 795.00

             1c. Copy line63, Total ofall property on ScheduleA/B...............................................................................................         $             36.795.00
     Part 2:       Summarize Your Liabilities

                                                                                                                                                                        Yourtiabiiities
                                                                                                                                                                        Amount you owe

     2.     Schedule D: CreditorsWho Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount ofclaim, at the bottom ofthe last page of Part 1 of Schedule D...                                          $             42, 487. 00
     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claimsfrom Part 1 (priority unsecuredclaims)from line6e of ScheduleE/F.................................                                   $                  200.00
            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $             22. 724. 00


                                                                                                                                         Your total liabilities $                   65, 411. 00


     Part 3:       Summarize Your Income and Ex enses

     4.     Schedule I: Your Income (Official Form 1061)
            Copyyour combined monthly income from line 12 of Schedute/................................................................................ $                                    372. 00
     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expensesfrom line 22c of ScheduleJ.......................................................................... $                                                370.00
     Part 4:       AnswerThese Questions for Administrativeand Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            D No. You have nothing to report on this partoftheform. Checkthis boxandsubmit thisform to thecourtwithyourotherschedules.
                   Yes
     7.     What kind of debt do you have?

                   Yourdebtsare primarilyconsumerdebts.Consumerdebtsarethose"incurredbyanindividualprimarilyfora personal,family, or
                   household purpose. " 11 U. S.C. § 101(8). Fill out lines 8-9gforstatistical purposes. 28 U. S.C. §T59. -' " ~ .. ~'~-- . "".""
            a Yourdebtsarenotprimarilyconsumerdebts.You havenothingto reportonthispartoftheform. Checkthisboxandsubmitthisformto
                   the court with your other schedules.
     OfficialForm 106Sum                    SummaryofYourAssetsand Liabilitiesand CertainStatistical Information                                                              page 1 of 2
    Software Copyright (c) 1S96-2019 Best Case, LLC - www. bestcase. com
                                                                                                                                                                              Best CaseBankruptcy
                   Case 2:19-bk-04008-BKM                                Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                                          Desc
                                                                         Main Document   Page 1 of 30
 Debtor 1      GRETCHENZAMJAHN                                                            Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122BLine 11; OR, Form 122C-1 Line 14.                                                               3, 149. 00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                     Total cteim
       From Part 4 on Schedule ®P,copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                               $                 0.00
       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                      $              200. 00
       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)            $                 0.00

       9d. Student loans. (Copy line 6f.)                                                             $                 0.00
       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                           $                0. 00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)        +$                0.00


       9g. Total. Add lines 9a through 9f.                                        5                                200.00




Official Form 106Sum                           Summary of Your Assets and Liabilities and Certain Statistical Information            page 2 of 2
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            Case 2:19-bk-04008-BKM                           Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                    Desc
                                                             Main Document   Page 2 of 30
 Fill in this information to identify your case and this filing:

 Debtor 1                     GRETCHEN ZAMJAHN
                              First Name                       Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)          First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

 Case number                                                                                                                                  D     Check if this is an
                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Pro e                                                                                                                                12/15
In each category, separately list anddescribeitems. Listan assetonly once. Ifan assetfits in morethan one category, listthe asset in the categorywhereyou think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separatesheetto this form. On the top of any additional pages, writeyour name and case number(if known). Answerevery question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

          No. Go to Part 2.
   D Yes. Where isthe property?

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whetherthey are registered or not? Includeany vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   D No
          Yes


   3. 1     Make:      HONDA                                     Who has an interest in the property? Checkone      Do not deduet secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
            Model: CIVIC                                               Debtor 1 only                                CreditorsWtio HaveClaimsSecuredby Property.
            Year:      2017                                       D Debtor 2 only                                   Current value of the       Current value of the
            Approximate mileage:                 20, 000          D Debtor 1 and Debtor 2 only                      entire property?           portion you own?
            Other information:                                    D At least one of the debtors and another

                                                                  D Check if this is community property                      Unknown                       Unknown
                                                                       (see instructions)



   32 Make:            MAZARATI                                  Who has an interest in the property? Check one     Donotdeducl securedclaims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D'
            Model:     GHIVIL1                                         Debtor 1 only                                CredltofsWho HaveClaims Securedby Property
            Year:      2015                                       D Debtor 2 only                                   Current value of the       Current value of the
            Approximate mileage:                 35, 000          D Debtor 1 and Debtor 2 only                      entire property?           portion you own?
            Other information:                                    D At least one of the debtors and another

                                                                  D Checkifthisiscommunityproperty                          $35, 000. 00                 $35, 000. 00
                                                                       (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
   D Yes




Official Form 106A/B                                                          Schedule A/B: Property                                                              page 1
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                Case 2:19-bk-04008-BKM                           Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                      Desc
                                                                 Main Document   Page 3 of 30
  Debtor 1            GRETCHENZAMJAHN                                                                                        Case number (if known)


  5 Add the dollarvalue of the portion you own for all of your entries from Part 2, including anyentries for
      .
          pages you have attached for Part 2. Write that number here.............................................................................   =>           $35, 000. 00

  Part 3: Describe Your Personal and Household Items
  Do you own or have any legal or equitable interest in any of the following items'?                                                                     Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.
 6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    D No
             Yes. Describe.....


                                         1 BED 200. 00, 1 DRESSER 40. 00, 1 COUCH 100. 00, 2 SITTING
                                         CHAIRS80.00, 1 KITCHENTABLE4 CHAIRS75.00, 2 TVS 200.00,
                                         1 DESKTOP COMPUTER 200. 00, 1 LAPTOP COMPUTER 100.00                                                                            $995.00


 7. Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
       No
     D Yes. Describe.....

8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                       other collections, memorabilia, collectibles
            No
     D Yes. Describe.....

9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                       musical instruments
            No
     D Yes. Describe.....

10. Firearms
          Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
     D Yes. Describe.....

11 Clothes
      Examples: Everydayclothes, furs, leather coats, designerwear, shoes, accessories
     D No
            Yes. Describe.....


                                         CLOTHES                                                                                                                        $200. 00

12. Jewelry
          Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    D No
            Yes. Describe.....


                                         COSTUME JEWELRY 200. 00, 1 WATCH 100. 00                                                                                       $300.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
    D Yes. Describe.....

14. Anyotherpersonaland householditemsyoudidnotalreadylist, includinganyhealthaidsyoudidnotlist
            No

Official Form 106A/B                                                         ScheduleA/B: Property                                                                          page 2
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                                                                                                                                                                Best Case Bankruptcy
                 Case 2:19-bk-04008-BKM                             Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                              Desc
                                                                    Main Document   Page 4 of 30
 Debtor 1         GRETCHENZAMJAHN                                                                             Case number (ifknown)

    D Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here                                                                                                           $1, 495. 00


 Part 4:     Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                              Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

16. Cash
      Examples:Money you have in yourwallet, in your home, in a safe deposit box, and on handwhenyou file your petition
        No
    D Yes.

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
              institutions. If you have multiple accounts with the same institution, list each.
    D No
        Yes.                                                              Institution name:



                                       17. 1. Checking                    D-fScri- Ft'n^^^i^l                                                              $300.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
   D Yes..................        Institution or issuer name:

19. Non-publiclytraded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
    D Yes. Give specific information about them.
                                 Nameof entity:                                                                % of ownership:

20. Government and corporate bonds and other negotiableand non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiableinstruments are those you cannottransferto someone by signing or delivering them.
        No
    D Yes. Give specificinformationaboutthem
                                          Issuer name:

21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
    D Yes. Listeachaccountseparately.
                                       Type of account:                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples:Agreementswith landlords, prepaid rent, publicutilities (electric, gas, water), telecommunicationscompanies, orothers
      No
    D Yes......................                                           Institution name or individual:

23. Annuities(A contractfora periodicpaymentof moneyto you, eitherfor life or fora numberofyears)
      No
    D Yes.............            Issuer name and description.

24. Interests in aneducation IRA, in an accountin a qualifiedABLEprogram, or undera qualifiedstatetuition program.
    26 U. S. C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
    D Yes.                        Institution name and description. Separately file the records of any interests. 11 U. S. C. § 521(c):
Official Form 106A/B                                                 Schedule A/B: Property                                                                   page3
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             Case 2:19-bk-04008-BKM                          Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                      Desc
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  Debtor 1        GRETCHEN ZAMJAHN                                                                      Case number (if known)


 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
         No
     D Yes. Give specific information about them...

 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
     D Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
     D Yes. Give specific information about them...

 Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
      No
     D Yes. Give specific information about them, including whether you already filed the returns and the taxyears.......


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     D Yes. Give specific information......


30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
                     benefits; unpaid loans you made to someone else
         No
    D Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
      No
    D Yes. Namethe insurancecompanyofeach policyand list its value.
                                           Company name:                                       Beneficiary:                      Surrender or refund
                                                                                                                                 value:

32. Any interest in property that is due you from someone who has died
      Ifyou arethe beneficiaryofa livingtrust, expectproceedsfrom a life insurancepolicy, or arecurrently entitled to receive property because
      someone has died.
        No
    D Yes. Give specific information..

33. Claims againstthird parties, whetheror not you have filed a lawsuitor madea demand for payment
    Examples:Accidents, employment disputes, insurance claims, or rights to sue
        No
    D Yes. Describeeach claim.

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
    D Yes. Describe each claim.

35. Any financial assets you did not already list
     No
    D Yes. Give specific information..



Official Form 106A/B                                                   ScheduleA/B: Property                                                          page 4
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              Case 2:19-bk-04008-BKM                              Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                          Desc
                                                                  Main Document   Page 6 of 30
 Debtor 1        GRETCHENZAMJAHN                                                                         Case number (if known)


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        for Part 4. Write that number here.                                                                                                $300. 00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.      you own or haveany legal or equitable interest In any buslness-related property?
        No. Go to Part6.
   D Yes. Goto line38.


 Part 6:   Describe Any Farm- and Commercial Fishlng-Related Property You Own or Have an Interest In.
           Ifyou own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
       D Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
      D Yes. Give specificinformation.

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                          $0.00

 Pans:          List the Totals of Each Part of this Form


 55.    Part 1: Total real estate, line 2                                                                                                        $0. 00
 56. Part 2: Total vehicles, line 5                                                     $35, 000. 00
 57. Part 3: Total personal and household items, line 15                                 $1,495.00
 58. Part 4: Total financial assets, line 36                                               $300.00
 59. Part 5: Total business-related property, line 45                                         $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                 $0. 00
 61. Part 7: Total other property not listed, line 54                                          $0. 00
 62. Total personal property. Add lines 56 through 61...                                $36,795.00      Copy personal property total       $36,795.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                      $36, 795. 00




Official Form 106A/B                                                   ScheduleA/B: Property                                                      page5
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             Case 2:19-bk-04008-BKM                               Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                       Desc
                                                                  Main Document   Page 7 of 30
  Fill in this information to identify your case:

  Debtor 1                 GRETCHEN ZAMJAHN
                           First Name                        Middle Name                 Last Name

  Debtor 2
  (Spouse if, filing)      First Name                        Middle Name                 Last Name

  United States BankruptcyCourt for the:               DISTRICTOFARIZONA

  Case number
  (if known)                                                                                                                        D Check if this is an
                                                                                                                                      amended filing

 Official Form 106C
 Schedule C: The Property You Claim as                                                                  empt                                                 4/19

 Be as complete andaccurateaspossible^Iftwo married peoplearefilingtogether, bothareequally responsibleforsupplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
 needed, fill outandattachto thispageas manycopiesof Part2: AdditionalPageas necessary.On thetop ofanyadditionalpages,write yourname
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
anyapplicablestatutory limit. Someexemptions-suchasthosefor health aids, rightsto receivecertain benefits,andtax-exemptretirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
 Part 1:         Identi the Pro e         You Claim as Exem t

 1. Whichset of exemptions are you claiming? Checkone only, even ifyour spouse is filingwithyou.
           You are claiming state and federal nonbankruptcyexemptions. 11 U. S.C. § 522(b)(3)
       D You are claiming federal exemptions. 11 U. S. C. § 522(b)(2)
 2. For any property you list on ScheduleA/Bthat you claim as exempt, fill in the information below.
      Brief description of the property and line on             Current value of the   Amountofthe exemptionyou claim        Specificlaws that allowexemption
       Schedule A/B that lists this property                    portion you own
                                                                Copythe value from
                                                                Schedule AS

      2017 HONDA CIVIC 20, 000 miles                                   Unknown                                       $0.00   Ariz. Rev. Stat. § 33-1125(8)
      Line from Schedule A/B: 3.1
                                                                                       1-1 100%offairmarket value, upto
                                                                                           any applicable statutory limit

      1 BED 200. 00, 1 DRESSER 40. 00, 1                                   $995.00                                $995.00    Ariz- R®v-stat- § 33-1123
      COUCH 100.00, 2 SITTINGCHAIRS
      80.00, 1 KITCHENTABLE4 CHAIRS                                                        100% affair market value, up to
      75. 00, 2 TVS 200. 00, 1 DESKTOP                                                     any applicable statutory limit
      COMPUTER 200. 00, 1 LAPTOP
      COMPUTER100.00
      Line from Schedule A/B: 6.1

      CLOTHES                                                              $200.00                                $200.00    Ariz- Rev- Stat. § 33-1125(1)
      Line from Schedule A/B: 11.1
                                                                                       0 100%offairmarketvalue,upto
                                                                                           any applicable statutory limit

      COSTUMEJEWELRY200.00,1                                               $300. 00                               $300. 00   Ariz- Rev- Stat- § 33-1125(4)
      WATCH 100.00
      Line from Schedule A/B: 12.1                                                     D 100%offairmarketvalue,upto
                                                                                           any applicable statutory limit




OfficialForm 106C                                       ScheduleC: The PropertyYou Claim as Exempt                                                    page 1 of 2
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                                                                                                                                                Best Case Bankruptcy
               Case 2:19-bk-04008-BKM                           Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                  Desc
                                                                Main Document   Page 8 of 30
  Debtor1     GRETCHEN ZAMJAHN                                                                      Case number (if known)
      Briefdescriptionof the property and line on           Current value of the   Amount ofthe exemption you elatm          Specific laws that allow exemption
      ScheduleA/Bthat lists Bits property                   portion you own
                                                            Cow the value from
                                                            SchmiuteAS

      Checking:                                                       $300.00                                 $300.00        Ariz. Rev. Stat. §
      Line from Schedule A/B: 17.1                                                                                           33-1126(A)(9)
                                                                                       100% affair market value, up to
                                                                                       any applicable statutory limit


  3. Are you claiming a homestead exemption of more than $170, 350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No

      D Yes. Didyou acquirethe property coveredbythe exemptionwithin 1,215daysbeforeyou filedthiscase?
            D      No
            D      Yes




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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                                                                                                                                                 Best Case Bankruptcy
            Case 2:19-bk-04008-BKM                          Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                       Desc
                                                            Main Document   Page 9 of 30
 Fill in this information to identify your case:

 Debtor 1                   GRETCHEN ZAMJAHN
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States BankruptcyCourtfor the:                DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                                       D Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors                                  Jio Have Claims Secured by Property                                                                              12/15
Be as complete and accurateas possible. Iftwo married peoplearefiling together, both are equally responsiblefor supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        a No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below.

 Part 1:         List All Secured Claims
                                                                                                               Column A                Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
 each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim         Value of collateral    Unsecured
 as possible, list the claims in alphabetical Order according to the creditor's name.                          Do not deduct the       that supports this     portion
                                                                                                               value of collateral.    claim                  If any
         LANDINGSCREDIT
 2.1                                                                                                               $42,487.00                  $35,000.00         $7,487.00
         UNION                                    Describe the property that secures the claim:
         Creditor's Name
                                                  2015 MAZARATI GHIVIL1 35, 000
                                                  miles

         2800 S MILLAVE                           As ofthe dateyou file, the claim is: Checkallthat
                                                  apply.
         Tempe. AZ 85282                           D Contingent
         Number, Street, City, State & Zip Code    D Unliquidated
                                                   D Disputed
 Who owes the debt? Check one.                    Nature of lien. Checkall thatapply.
       Debtor 1 only                                  An agreement you made (such as mortgage or secured
 D Debtor2 only                                        car loan)
 D Debtor 1 and Debtor 2 only                      D Statutorylien(suchastaxlien,mechanic'slien)
 D At least one ofthe debtors and another         D Judgment lien from a lawsuit
 D Check ifthis claim relates to a                D Other (including a rightto offset)
       community debt

 Date debtwasincurred            07/01/18                  Last4 digits of account number        1677




   Addthedollarvalueofyourentries in ColumnA onthispage.Writethatnumberhere:                                                 $42,487.00
   Ifthis is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                         *                                         ?t^, 'H»/.l

 Part 2: List Others to Be Notified for a Debt That You Alread Listed
 Usethispageonlyifyouhaveothersto benotifiedaboutyourbankruptcyfora debtthatyoualreadylistedinPart1.Forexample.Ifa collectionagencyistrying
 to collect from you for a debtyou oweto someone else, list the creditor in Part 1, andthen listthecollection agency here. Similarly, ifyou have more than one
 creditor for anyofthedebts that you listed in Part 1 , listthe additional creditors here. ffyou do not have additional persons to benotified for anydebts in Part 1,
 donot fill outorsubmitthis page.                                                            '                          ^------------, -".... -...,




OfficialForm 106D                                 ScheduleD: CreditorsWhoHaveClaimsSecuredby Property                                                              page 1 of 1
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                Case 2:19-bk-04008-BKM                         Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                                Desc
                                                              Main Document    Page 10 of 30
 Fill in this information to identify your case:

 Debtor 1                     GRETCHEN ZAMJAHN
                              First Name                      Middle Name                           Last Name

 Debtor 2
 (Spouse if, filing)          First Name                      Middle Name                           Last Name

 United States Bankruptcy Courtfor the:                 DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                                                 d Check if this is an
                                                                                                                                                              amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                         12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executorycontracts or unexpired leases that could result in a claim. Also list executorycontracts on ScheduleA/B: Property (Official Form 106A/B)and on
ScheduleG: ExecutoryContracts and Unexpired Leases (Official Form 106G). Do not includeanycreditorswith partially secured claimsthat are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Pageto this page. Ifyou have no Informationto report in a Part, do notfile that Part. On the top of anyadditional pages, writeyour name and case
number (if known).
 Part 1:           List All of Your PRIORITYUnsecured Claims
 1.    Do any creditors have priority unsecured claims againstyou?
       D No. Goto Part2.
           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identifywhattypeofclaim it is. Ifa claim has both priorityandnonpriorityamounts, listthatclaiffi here andshowboth priorityandnonpricmtyamounts. As much as
       possible, list the claims in alphabeticalorderaccordingto thecreditor's name. Ifyou havemore than two priorityunsecuredclaims,fill outtheContinuation Pageof Part
       1. If more than one creditor holds a particular claim, list the other creditors In Part 3.
       (For an explanation of each type of claim, see the instructions for ttiis form in the instFuetion booklet.)
                                                                                                                             Total claim         Priority               Nonpriority
                                                                                                                                                 amount                 amount

 2.1          INTERNALREVENUESERVICE                                 Last 4 digits of account number            1677                  $200. 00              $200.00                   $0.00
              Priority Creditor's Name
              PO BOX 21126                                           When was the debt incurred?                12-31-18
              Philadel hia PA 19114
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Checkone.                             D Contingent
              Debtor 1 only                                              Unliquidated
        D Debtor 2 only                                              D Disputed
        D Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:
        D At leastoneofthedebtorsandanother                          D Domestic support obligations
        D Check if this claim is for a community debt                   Taxes and certain other debts you owe the government
        Is the claim subject to offset?                              D Claims fordeath or personal injury while you were intoxicated
              No
                                                                     D Other. Specify
        D Yes                                                                              PERSONALINCOMETAX

 Part 2:           List All of Your NONPRIORFTY Unsecured Claims
 3. Do any creditors havenonpriority unsecured claims againstyou?
       D No.You have nothingto report inthispart. Submitthisformtothecourtwithyourotherschedules.
          Yes.

4. Listall ofyournonpriorityunsecuredclaims Inthealphabeticalorderofthecreditorwhoholdseachclaim.Ifa creditorhasmorethanonenonpnorityunsecured
       claim, list thecreditor separately for each claim. For each claim listed, identify what type of daim stIs. Do not list claims already ineluded in Part 1. If more than one
       creditorholdsa particularclaim, listtheotherGreditorsin PartS.ffyouhavemorethanthreenonpriorityunsecuredclaimsfBouttheContinuationPageofPart2.
                                                                                                                                                                  Total claim




Official Form 106 E/F                                     ScheduleE/F: Creditors WhoHave Unsecured Claims                                                                        Page 1 of 4
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               Case 2:19-bk-04008-BKM                            Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                                        Desc
                                                                Main Document    Page 11 of 30
  Debtor 1 GRETCHENZAMJAHN                                                                                  Case number (ifknown)

  4.1        BILLING OFFICE                                             Last4 digits of account number        5094                                        $700.00
             Nonpriority Creditor's Name
             5900 MONONADR                                             When was the debt incurred?            12/06/18
             Madison, Wl 53716
             Number Street City State Zip Code                         As ofthe dateyou file, the claim is: Checkall thatapply
            Who incurred the debt? Check one.
                                                                        D Contingent
                Debtor 1 only
                                                                           Unliquidated
            D Debtor 2 only
                                                                        D Disputed
            D Debtor 1 and Debtor 2 only                               Type of NONPRIORITVunsecured claim:
            D At least one of the debtors and another                   D Studentloans
            D Checkifthisclaimisfora communitydebt                     D Obligationsarisingoutofa separation agreement ordivorce thatyoudidnot
            Is the claim subject to offset?                            report as priority claims
                No                                                     D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                          Other. Specify CREDIT

  4.2       CAINE & WEINER                                             Last 4 digits of account number        2660                                       $536.00
            Nonpriority Creditor's Name
            PO BOX 55848                                               Whenwasthe debt incurred?              12/15/18
            Sherman Oaks, CA 91413
            Number Street City State Zip Code                          As ofthe dateyou file, the claim is: Checkall thatapply
            Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                           Unliquidated
            D Debtor 2 only
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                               Type of NONPRIOR17Y unsecured claim:
            D At least one of the debtors and another                  D Student loans
            D Checkifthisclaimisfora communitydebt                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                            report as priority claims
                No                                                     D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                          Other.Specify PROGRESSIVE

 4.3        CAPITALONE BANK                                            Last 4 digits of account number        5178                                    $2, 100.00
            Nonpriority Creditor's Name
            PO BOX 30285                                               Whenwasthe debtincurred?               07/01/18
            Salt Lake Ci , UT 84130
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                           Unliquidated
            D Debtor 2 only
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                               Type of NONPRIORITYunsecured claim:
            D At least one ofthe debtors and another                   D Student loans
            D Check ifthis claim is for a community debt               D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                         Other.Specify CREDIT




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 4
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                                                                                                                                                 Best Case Bankruptcy
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 Debtor1 GRETCHENZAMJAHN                                                                                  Case number (if known)

 4.4       CHASE CARD SERVICES                                       Last 4 digits of account number        4147                                 $9, 834. 00
           Nonpriority Creditor's Name
           PO BOX 15298                                              Whenwasthe debt incurred?              07/01/18
           Wilmin ton, DE 19850
           NumberStreet CityStateZip Code                            As ofthe dateyou file, the claim is: Checkall thatapply
           Who incurred the debt? Check one.
                                                                     D Contingent
               Debtor 1 only
                                                                         Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one ofthe debtors and another                  D Student loans
           D Check ifthis claim is fora community debt               D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension or profit-sharing plans, and othersimilar debts
           D Yes                                                         Other.Specify CREDIT

 4.5       CITICARDS                                                 Last 4 digits of account number        5424                                 $2,756.00
           Nonpriority Creditor's Name
           PO BOX 6241                                               Whenwasthe debtincurred?               06/01/18
           Sioux Falls, SD 57117
           Number Street City State Zip Code                         As of the date you file, the claim is: Check ail that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
               Debtor 1 only
                                                                         Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor2 only                               Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 D Student loans
           D Check ifthis claim is for a community debt              D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension or profit-sharing plans, and other similar debts
           D Yes                                                        Other.Specify CREDIT

 4.6       COMENITf BANK/JARED                                       Last 4 digits of account number        1677                                 $2, 030. 00
           Nonpriority Creditor's Name
           PO BOX 182789                                             Whenwasthe debt incurred?              07/01/18
           Columbus, OH 43218
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     a Contingent
               Debtor 1 only
                                                                        Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor1 andDebtor2 only                                 Type of NONPRIORIT/unsecured claim:
           D At least one of the debtors and another                 D Student loans
           D Check ifthis claim is for a community debt              D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                        Other. Specify CREDIT




Official Form 106 E/F                                   ScheduleE/F: Creditors WhoHave Unsecured Claims                                            Page 3 of 4
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                                                                                                                                            Best Case Bankruptcy
            Case 2:19-bk-04008-BKM                             Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                               Desc
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  Debtor1 GRETCHENZAMJAHN                                                                                 Case number (if known)

 4.7        COMPASS BANK                                              Last 4 digits of account number       4638                                               $4,768.00
            Nonpriority Creditor's Name
            PO BOX 11830                                              Whenwasthe debtincurred?              07/01/18
            Birmin ham, AL 35202
            NumberStreet City StateZipCode                            As ofthe date you file, the claim is: Checkall thatapply
            Who incurred the debt? Check one.
                                                                      D Contingent
                Debtor 1 only
                                                                           Unliquidated
            D Debtor2 only
                                                                      D Disputed
            D Debtor 1 and Debtor 2 only                              Typeof NONPRIORITfunsecured claim:
            D At least one of the debtors and another                 D Studentloans
            D Checkifthisclaimisfora communitydebt                    D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                           report as priority claims
                No                                                    D Debts to pension or profit-sharing plans, and other similar debts
            D Yes                                                          Other. Specify CREDIT

 Part 3:      List Others to Be Notified About a Debt That You Alread Listed
5. Usethis pageonly ifyou haveothersto benotifiedaboutyourbankruptcy,fora debtthatyou alreadylisted in Parts 1 or 2. Forexample, ifa collectionagencyis
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4 .     Add the Amounts for Each T               e of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U. S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                                 Total Claim
                        6a.     Domestic support obligations                                                6a. $                                 0.00
 Total claims
  from Part 1           6b.     Taxes and certain other debts you owe the government                        6b. $                              200.00
                        6c.     Claims for death or personal Injury while you were intoxicated              6c. $                                 0. 00
                        6d. Other.Add all other priorityunsecured claims. Writethatamount here.             6d. $                                 0.00

                        6e.     Total Priority. Add lines 6a through 6d.                                    6e.                                200.00

                                                                                                                                 Total Claim
                        6f.     Student loans                                                               6f.                                   0.00
 Total claims
  from Part 2           6g. Obligationsarising out of a separationagreementor divorcethatyou
                                did not reportas priorityclaims             ~                         '     69                                    0.00
                        6h. Debtsto pension or profit-sharing plans, and other similardebts                 6h                                    0.00
                        6i.     Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.                              22, 724. 00

                        6j.     Total Nonpriority.Add lines6f through 6i.                                   6J.                             22, 724. 00




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 4
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            Case 2:19-bk-04008-BKM                              Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                            Desc
                                                               Main Document    Page 14 of 30
  Fill in this information to identify your case:

  Debtor 1                  GRETCHEN ZAMJAHN
                            First Name                         Middle Name            Last Name

  Debtor 2
  (Spouse if, filing)       First Name                         Middle Name            Last Name


  United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

  Case number
  (if known)                                                                                                                         [] Check if this is an
                                                                                                                                        amended filing



 Official Form 106G
 Schedule G: Execute                   Contracts and Unex i red Leases                                                            12/15
 Beas completeand accurateas possible. Iftwo married people are filingtogether, bothare equally responsibleforsupplying correct
 information. If morespace is needed,copytheadditional page,fill it out, numberthe entries, andattach it to this page. On thetop ofany
additional pages, write your name and case number (if known).

 1.      Do you have any executory contracts or unexpired leases?
         D No.Checkthisboxandfilethisformwiththecourtwithyourotherschedules. Youhavenothingelseto reportonthisform.
               Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.       List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). Seethe instructionsforthisform in the instructionbookletformore examplesofexecutorycontracts
         and unexpired leases.


             Person or company with whom you have the contract or lease                 State what the contract or lease is for
                            Name, Number, Street, City, State and ZIP Code

      2. 1      HONDADFINANCIALSERVICES                                                    2017HONDACIVIC
                PO BOX 166469
                lrving, TX75016




OfficialForm 106G                                  ScheduleG: ExecutoryContractsandUnexpiredLeases                                                     Page 1 of 1
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                                                                                                                                                 Best Case Bankruptcy
                Case 2:19-bk-04008-BKM                            Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                 Desc
                                                                 Main Document    Page 15 of 30
  Fill in this information to identify your case:

  Debtor 1                    GRETCHENZAMJAHN
                              First Name                            Middle Name         Last Name

  Debtor 2
 (Spouse if, filing)          FirstName                             MiddleName          Last Name


 United States Bankruptcy Court for the:                    DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                       d Check if this is an
                                                                                                                                    amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities whoare also liablefor any debts you may have. Be as complete and accurateas possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor

          No
      D Yes

      2. Withinthe last 8 years, haveyou lived in a community property state or territoiy? (Community property states andterritories include
      Arizona, California, Idaho, Louisiana, Nevada, NewMexico, Puerto Rico, Texas, Washington,and Wisconsin.)

      D No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

               D No
                       Yes.


                         In which community state or territory did you live?            -NONE-          Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code


   3. In Column 1, list all ofyour codebtors. Donot includeyourspouseas a codebtorifyourspouse is filingwithyou. Listthe personshown
      in line 2 againas a codebtoronly if that person is a guarantoror cosigner. Makesureyou havelistedthe creditoron ScheduleD (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
      fill out Column 2.

               Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
               Name, Number Street, City, State and ZIP Code                                           Check all schedules that apply:

                                                                                                       D Schedule D, line
               Name
                                                                                                       D Schedule E/F, line
                                                                                                       D ScheduleG, line
               Number               Street
               City                                         State                       ZIPCode



                                                                                                       D Schedule D, line
               Name
                                                                                                       D Schedule E/F, line
                                                                                                       D Schedule G, line
               Number               Street
               City                                         State                       ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                     Page 1 of 1
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              Case 2:19-bk-04008-BKM                                  Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                          Desc
                                                                     Main Document    Page 16 of 30
  Fill in this information to identi    our case:


  Debtor 1                       GRETCHENZAMJAHN

  Debtor 2
  (Spouse, if filing)


  United States Bankruptcy Court forthe: DISTRICTOFARIZONA

  Case number                                                                                          Check if this is:
 (If known)
                                                                                                       D An amendedfiling
                                                                                                       D A supplement showing postpetition chapter
                                                                                                           13 income as ofthe following date:
 Official Form 1061                                                                                        MM/DD/YYYY
 Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. Iftwo married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. Ifyou are married and not filing jointly, and your spouse is living with you, include information about your
spouse. Ifyou are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separatesheetto this form. Onthetop ofanyadditionalpages,writeyour nameand case number(if known).Answerevery question.
 Parti:                 Describe Em lo ment

         Fill in your employment
         information.                                                                                        Debtor 2 or non.filing spouse

        If you have more than one job,                              D Employed                               D Employed
        attach a separate page with           Employment status
         information about additional                                  Not employed                          D Notemployed
        employers.
                                              Occupation
        Include part-time, seasonal, or
        self-employed work.                   Employer's name

        Occupationmayincludestudent Employer'saddress
        or homemaker, if it applies.


                                              How long employed there?
 Part 2:                Give Details About Monthl Income

Estimate monthly income as of the date you file this form. Ifyou have nothing to report for any line, write $0 in the space. Include your non-fili(
spouse unless you are separated.

Ifyou or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. Ifyou need
more space, attach a separate sheet to this form.




        Listmonthly grosswages,salary, and commissions (before all payroll
        deductions). If not paid monthly, calculate what the monthly wage would be.        2.    $             0.00        $            N/A

 3.     Estimate and list monthly overtime pay.                                            3. +$               0. 00       +$           N/A

 4.     Calculate gross Income. Add line 2 + line 3.                                       4     $          0. 00              $     N/A




Official Form 1061                                               Schedule I: Your Income
               Case 2:19-bk-04008-BKM                  Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                  Descpage 1
                                                      Main Document      Page 17 of 30
  Debtor1   GRETCHENZAMJAHN                                                                    Case number (if known)




                                                                                                                        non-filing spouse
      Copy line 4 here                                                                   4.     $              0.00     $                N/A

 5.   List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                               5a.    $              0.00     $                N/A
      5b.    Mandatorycontributions for retirement plans                                 5b.    $              0.00     $                N/A
      5c.    Voluntary contributions for retirement plans                                5c.    $              0.00     $                N/A
      5d.    Required repayments of retirement fund loans                                5d.    $              0.00     $                N/A
      5e.    Insurance                                                                   5e.    $              0.00     $                N/A
      5f.    Domestic support obligations                                                5f.    $              0.00     $                N/A
      5g.    Union dues                                                                  sg.    $              0.00     $                N/A
      5h.    Other deductions. Specify:                                                  5h.+ $                0.00 + $                  N/A
 6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                     6.     $              0.00     $                N/A
 7.   Calculate total monthly take-home pay. Subtract tine 6 from line 4.                7.     $              0. 00    $                N/A
 8.   List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                         8a.    s              0. 00    $                N/A
      Sb.    Interest and dividends                                                      8b.    $              0.00     $                N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                        8c.    $          372.00       $                N/A
      8d.    Unemployment compensation                                                   8d.    $            0.00       $                N/A
      8e.    Social Security                                                             8e.    $              0. 00    $                N/A
      8f.    Othergovernment assistancethat you regularly receive
             Include cash assistanceand the value (if known) of any non-cashassistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                    8f.    $             0.00      $                N/A
      sg.    Pension or retirement income                                                sg.    $             0.00      $             N/A
      8h.    Other monthly income. Specify:                                              8h.+ $               0. 00 + $               N/A

 9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                           9. $              372.00                        N/A

 10. Calculate monthly income. Add line 7 + line 9.                                   10. $           372. 00 +$             N/A =$            372. 00
     Add the entries in line 10 for Debtor 1 and Debtor2 or non-filingspouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives.
      Do not includeanyamountsalreadyincludedin lines2-10oramountsthatare not availableto payexpenseslisted in ScheduleJ.
      Specify:                                                                                                                11.   +$           0. 00

 12. Addthe amountin the last column ofline 10to the amountin line 11. The result isthe combinedmonthly income.
      Write that amount on the Summaryof Schedulesand Statistical Summary of Certain Liabilitiesand Related Data, if it
      applies                                                                                                                 12. $            372.00
                                                                                                                                    Combined
                                                                                                                                    monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
                No.
      D         Yes. Explain:




Official Form 1061                                                    Schedule I: Your Income
            Case 2:19-bk-04008-BKM                  Doc 8 Filed 04/05/19 Entered 04/08/19 11:23:23                                    Descpage 2
                                                   Main Document    Page 18 of 30
 Fill in this information to identify your case:

 Debtor 1               GRETCHEN ZAMJAHN                                                                     Check if this is:
                                                                                                             D An amended filing
 Debtor 2                                                                                                     D A supplement showingpostpetition chapter
 (Spouse, if filing)                                                                                            13 expenses as ofthe following date:
 United States Bankruptoy Court for the:    DISTRICT OF ARIZONA                                                     MM / DD / YYYY

 Case number
 (If known)



 Official Form 106J
 Schedule J: Your Ex enses                                                                                                                                   12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

 Part 1:    DescribeYour Household
 1.   1 this a joint case?
             No. Go to line 2.
       D Yes. DoesDebtor2 live in a separatehousehold?
                 D No
                 D Yes. Debtor2 mustfile OfficialForm 106J-2, Expensesfor SeparateHouseholdofDebtor2.
 2.    Do you have dependents?             D No
       Do not list Debtor 1                  Yes.
                                                    Fill out this information for   Dependent's relationship to       Dependent's        Does dependent
       and Debtor 2.                                each dependent.                 Debtor 1 or Debtor 2              age                live with you?

       Do not state the
       dependents names.                                                            DAUGHTER                          9                    ws-
                                                                                                                                           .
                                                                                                                                               NL
                                                                                    SON                               13
                                                                                                                                               No
                                                                                                                                     -         "ite-
                                                                                                                                         D No
                                                                                                                                         D Yes
                                                                                                                                         D No
                                                                                                                                         D Yes
 3.    Doyour expenses include ^
       expenses of people other than
       yourself and your dependents?

                EstimateYour Ongoing Monthly Expenses
   timateyourexpensesas ofyourbankruptcyfiling date unlessyou are usingthis form as a supplement in a Chapter13caseto report
 expensesas of a dateafterthe bankruptcyis filed. Ifthis is a supplemental ScheduleJ, checkthe boxatthe top oftheform andfill 'inthe
 applicable date.

 Include expenses paid for with non-cash government assistance if you know
 the value of such assistance and have included it on Schedule I: Your Income
 (Official Form 1061.)

4.     The rental or home ownership expenses for your residence. Include first mortgage
       payments and any rent for the ground or lot.                                ~ -                       4. $                                   0.00

       If not included in line 4:

       4a.      Real estate taxes                                                                           4a. $                                   0.00
       4b.      Property, homeowner's, or renter's insurance                                                4b. $                                   0. 00
       4c.      Home maintenance, repair, and upkeep expenses                                               4c. $                                   0.00
       4d.      Homeowner'sassociationor condominium dues                                                   4d. $                                   0.00
5.     Additionalmortgage paymentsforyour residence,suchas homeequity loans                                  5. $                                   0.00




Official Form 106J                                                    ScheduleJ: Your Expenses                                                              page 1
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 Debtor 1     GRETCHENZAMJAHN                                                                     Case number (if known)

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                               6a.   $                               0. 00
       6b. Water, sewer, garbage collection                                                            6b.    $                               0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                              6c.    $                               0.00
       6d. Other. Specify:                                                                             6d.    $                              0.00
 7.    Food and housekeeping supplies                                                                   7.    $                            300.00
 8.    Childcare and children's education costs                                                         8.    $                              0.00
 9.  Clothing, laundry, and dry cleaning                                                                9.    s                             70.00
 10. Personal care products and services                                                               10.    $                              0.00
 11. Medical and dental expenses                                                                       11.    $                              0.00
 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                       12. $                                 0. 00
 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                 13. $                                 0. 00
 14. Charitable contributions and religious donations                                                   14. $                                 0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a.   Life insurance                                                                          15a.    $                               0.00
       15b.   Health insurance                                                                        15b.    $                               0.00
       15c.   Vehicle insurance                                                                       15c.    $                               0. 00
       15d. Other insurance. Specify:                                                             $   15d.                                    0.00
 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                              16. $                                            0.00
 17.   Installment or lease payments:
       17a. Car payments for Vehicle 1                                                      17a. $                                            0.00
       17b. Car payments for Vehicle 2                                                      17b. $                                            0.00
       17c. Other. Specify:                                                                 17c. $                                            0.00
       17d. Other. Specify:                                                                 17d. $                                            0.00
 18.   Your payments of alimony, maintenance, and support that you did not report as
       deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).       18. $                                            0.00
 19.   Other payments you make to support others who do not live with you.                        $                                           0.00
       Specify:                                                                              19.
20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                     20a. $                                            0.00
       20b. Real estate taxes                                                               20b. $                                            0. 00
       20c. Property, homeowner's, or renter's insurance                                    20c. $                                            0.00
       20d. Maintenance, repair, and upkeep expenses                                        20d. $                                            0. 00
       20e.   Homeowner's association or condominium dues                                             20e. $                                  0. 00
21     Other: Specify:                                                                                 21. +$                                 0. 00
22.    Calculate your monthly expenses
       22a. Add lines 4 through 21.                                                                               $                     370. 00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            $                     370. 00
23.    Calculate your monthly net income.
       23a. Copy line 12 (your combined monthly income) from Schedule I.                              23a. $                               372.00
       23b. Copy your monthly expenses from line 22c above.                                           23b. -$                              370.00

       23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                    23c. ! $                                2.00

24.    Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expectto finishpayingfor yourcar loan withinthe yearordo you expectyourmortgage paymentto increaseor decrease becauseof a
       modification to the terms of your mortgage?
         No.
       D Yes.              Explain here:




Official Form 106J                                              Schedule J: Your Expenses                                                              page 2
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  Fill in this information to identify your case:

  Debtor 1                  GRETCHEN ZAMJAHN
                            First Name                         Middle Name             Last Name

  Debtor 2
  (Spouse if, filing)       First Name                         Middle Name             Last Name


  United States BankruptcyCourtfor the:                  DISTRICTOFARIZONA

  Case number
  (if known)
                                                                                                                                     D Check if this is an
                                                                                                                                       amended filing



 Official Form 106Dec
 Declaration About an Individual Debtor's Schedules                                                                                                          12/15

 If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250, 000,
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                    Sign Below


         Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         D      No

                Yes. Nameofpereon              MARK BLUEMKE                                                       Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                  Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.


               G ETCHE              MJA                                                   Signature of Debtor 2
               Signature of        or 1

               Date             - ^- M/                                                   Date




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
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  Fill in this information to identify your case:

  Debtor 1                  GRETCHEN ZAMJAHN
                            First Name                   Middle Name                LastName
  Debtor 2
 (Spouse if, filing)        First Name                   Middle Name                Last Nama


 United States Bankruptcy Court forthe:            DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                       D Check if this is an
                                                                                                                                    amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

       D      Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

      D       No
              Yes. List all of the places you lived in the last 3 years. Do not includewhere you live now.

        Debtor 1 Prior Address:                              Dates  Debtor11
                                                             Dates Debtor             Debtor 2 Prior Address:                            Dates Debtor 2
                                                             lived there                                                                 lived there
        1811WSETLOCKTRAIL                                    From-To:                 D Same as Debtor 1                                 D Same as Debtor 1
        Phoenix, AZ 85054                                    01-2016/01-2018                                                             From-To:




       ARIZONA ADDRESS (DO NOT                               From-To:                 D Sameas Debtor 1                                  D Same as Debtor 1
        REMEMBER)                                            12-2009/12-2015                                                             From-To:




3. Withinthelast8 years,didyou everlivewitha spouseor legalequivalentina communitypropertystateorterritory? {Communityproperty
states andterritories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)
      D       No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4'    Diidyo." hav®any incom. e from employment or from operating a business during this year or the two previous calendar years?
      Fill in thetotal amountof incomeyou receivedfrom alljobs andall businesses, includingpart-timeactivities.'
      Ifyou arefilinga jointcaseandyou haveincomethatyou receivetogether, list it only once underDebtor 1
      D       No
              Yes. Fill in the details.

                                                Debtor 1                                                     Debtors
                                                Sources of income              Gross income                  Sources of income           Gross income
                                                Check all that apply,          (beforedeductionsand          Checkaltthatapply.          (before deductions
                                                                               exclusions)                                               and exclusions)

OfficialForm 107                                    StatementofFinancialAffairsforIndividualsFilingforBankmptcy                                            page 1
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  Debtor 1       GRETCHEN ZAMJAHN                                                                            Case number {» known}




                                                      Debtor 1                                                     Debtor 2
                                                      Sources of income               Gross Income                 Sources of income            Gross income
                                                      Check all that apply.           (before deductions and       Checkaltthat appty.          (before deductions
                                                                                      exclusions)                                               and exclusions)
  From January 1 of current year until                   Wages, commissions,                      $4, 166. 00      D Wages,commissions,
  the date you filed for bankruptcy:                                                                               bonuses, tips
                                                      bonuses, tips
                                                      D Operating a business                                       D Operatinga business

  For last calendar year:                               Wages, commissions,                     $42, 140. 00       D Wages,commissions,
  (January 1 to December 31, 2018)                                                                                 bonuses, tips
                                                      bonuses, tips
                                                      D Operatinga business                                        D Operatinga business


 5.    Did you receive any other income during this year or the two previous calendaryears?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
       unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
       gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

       List each source and the gross incomefrom each source separately. Do not include income that you listed in line 4.

       D     No
             Yes. Fill in the details.

                                                     Debtor 1                                                      Debtors
                                                     Sources of income                Gross Incomefrom             Sources of income           Gross income
                                                     Describe below.                  each source                  Describe betow.             (before deductions
                                                                                      (before deductions and                                   and exclusions)
                                                                                      exclusions)
  FromJanuary1 ofcurrentyearuntil Child Support                                                  $1, 116. 00
 the date you filed for bankruptcy:


 Forlastcalendaryear:                                ChildSupport                                $4,464.00
 (January 1 to December 31, 2018)


 Part 3:       List Certain Pa ments You Made Before You Filed for Bankru to

6.     Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?
       D No. NeitherDebtor1 norDebtor2 hasprimarily consumer debts. Consumerdebtsaredefinedin 11 U. S.C. § 101(8) as"incurred byan
                     individualprimarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6, 825* or more?
                      1-1 No.        Goto line7.
                           Yes IJS.t,b.?o.w ea??.h crectitortow.homyouPaida totalof$6825*ormoreinoneormorepaymentsandthetotalamountyou
                                     paidthatcreditor. Donotincludepaymentsfordomesticsupportobligations,suchaschildsupportandalimony.Also, do
                                     not include payments to an attorney for this bankruptcy case.
                      * Subjectto adjustmenton4/01/22andevery3 yearsafterthatforcasesfiledon orafterthedateofadjustment.
             Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     Duringthe 90 daysbeforeyou filedfor bankruptcy, didyou payanycreditora total of$600or more?
                           No.      Go to line 7.
                      1-1 Yes Listbeloweachcreditortowhomyoupaida totalof$600ormore andthetotalamountyoupaidthatcreditor. Donot
                                    include payments fordomestic support obligations, such aschild support and alimony. Also, do not include payments to
                                    an attorney for this bankruptcy case.

       Creditor's Name and Address                                 Dates of payment          Total amount         Amountyou          Wasthis paymentfor.
                                                                                                      paid            still owe




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  Debtor 1        GRETCHEN ZAMJAHN                                                                         Case number {ifknown)



7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insidersinclude your relatives; any general partners; relatives of any general partners; partnerships ofwhichyou are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
       including one for a business you operate as a sole proprietor. 11 U. S. C. § 101. Include payments for domestic support obligations, such as child
       support and alimony.

             No
       D Yes. Listall paymentsto an insider.
        Insider's Name and Address                                     Dates of payment       Total amount        Amount you       Reason for this payment
                                                                                                       paid           still owe

       Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
       insider?
       Include payments on debts guaranteed or cosigned by an insider.

             No
       D     Yes. List all payments to an insider
        Insider's Name and Address                                 Dates of payment           Total amount        Amount you       Reason for this payment
                                                                                                       paid         still owe      Include crectjtor's name

 Part 4:       Identi     Le al Actions, Re ossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

             No
       D     Yes. Fill in the details.
       Case title                                                  Nature of the case         Courtor agency                       Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

             No. Go to line 11.
       D     Yes. Fill in the information below.
       Creditor Name and Address                                   Describe the Property                                   Date                         Value of the
                                                                                                                                                           property
                                                                   Explain what happened

11. Within90daysbeforeyoufiled for bankruptcy,didanycreditor, includinga bankorfinancialinstitution, set offanyamountsfrom your
      accounts or refuseto make a payment becauseyou owed a debt?
             No
      D      Yes. Fill in the details.
       Creditor Name and Address                                   Describethe action the creditor took                    Date action was                    Amount
                                                                                                                           taken

12. WithinI yearbeforeyou filedfor bankruptcy, wasanyofyour property in the possessionofan assigneeforthe benefitofcreditors, a
      court-appointed receiver, a custodian, or another official?
             No
      D      Yes

 Part 5:      List Certain Gifts and Contributions


13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
             No
      D Yes. Fill in the details for each gift.
       Giftswitha totalvalueofmorethan$600                                 Describethegifts                                Datesyougave                        Value
       per person                                                                                                          thegifts
       Person to Whom You Gave the Gift and
       Address:


Official Form 107                                        Statement ofFinancialAffairsforIndividuals Filingfor Bankruptcy                                        page 3
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  Debtor 1       GRETCHEN ZAMJAHN                                                                    Case number [if known)



 14. Within2 yearsbeforeyoufiledfor bankruptcy,didyou giveanygiftsorcontributionswitha total valueofmorethan$600toanycharity?
             No
       D Yes. Fill in the detailsforeachgift or contribution.
        Gifts or contributions to charities that total             Describe what you contributed                     Datesyou                          Value
        more than $600                                                                                               contributed
        Charity's Name
        Address (Number, Street, City, State andZIPCode)

  Part 6:      List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
       disaster, or gambling?

             No
       D     Yes. Fill in the details.
        Describe the property you lost and                Describeany insurance coveragefor the loss                 Date of your       Value of property
        how the loss occurred                                                                                        loss                            lost
                                                          Includethe amountthat insurancehas paid. List
                                                          pending insurance claims on line 33 of Schedule A/B:
                                                          Property.

  Part 7:     List Certain Pa ments or Transfers

 16. Within1 yearbeforeyoufiledforbankruptcy,didyouoranyoneelseactingonyourbehalfpayortransferanypropertyto anyoneyou
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
       D     No
             Yes. Fill in the details.
       Person Who Was Paid                                        Descriptionandvalue ofany property                Date payment                Amount of
       Address                                                    transferred                                       or transfer was                payment
       Email or website address                                                                                     made
       Person Who Made the Payment, if Not You
       AFFORDABLE DOCUMENTS AZ LLC                                                                                  03-21-19                      $200. 00
       60 E RIO SALADO PKWY
       SUITE 900
       Tempe, AZ 85281


17 Within1 yearbeforeyoufiledforbankruptcy,didyouoranyoneelseactingonyourbehalfpayortransferanypropertyto anyonewho
      promisedto helpyou dealwithyourcreditorsorto make paymentsto yourcreditors?
      Do not include any payment or transferthat you listed on line 16.

            No
      D     Yes. Fill in the details.
       Person Who Was Paid                                        Description andvalue ofany property               Date payment                Amount of
       Address                                                    transferred                                       or transfer was              payment
                                                                                                                    made


18. Within 2 years before you filed for bankruptcy, didyou sell, trade, orotherwise transfer any property to anyone, otherthan property
      transferred in the ordinarycourse of your business or financialaffairs?
      Includebothoutrighttransfersandtransfersmadeassecurity(suchasthegrantingofa securityinterestormortgageonyourproperty). Donot
      include gifts and transfers that you have already listed on this statement.
            No
      D     Yes. Fill in the details.
       Person Who Received Transfer                               Description and value of              Describe any property or       Date transfer was
       Address                                                    property transferred                  payments received or debts     made
                                                                                                        paid in exchange
       Person's relationshipto you




OfficialForm 107                                     StatementofFinancialAffairsforIndividualsFilingforBankruptcy                                      page 4
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  Debtor 1       GRETCHEN2AMJAHN                                                                            Case number {ifknown)



 19. Within10years beforeyou filedfor bankruptcy, didyou transferany propertyto a self-settled trust or similardeviceofwhichyou are a
       beneficiary? (These are often called asset-protection devices.}
           No
       D     Yes. Fill in the details.
       Name of trust                                                 Description and value ofthe property transferred                      Date Transferwas
                                                                                                                                           made

  PartS:       Listof Certain Financial Accounts, Instruments, Safe De osit Boxes, and Stora e Units

 20. Within1 yearbeforeyou filedfor bankruptcy,wereanyfinancialaccountsor instruments held in your name, or foryour benefit,closed,
      sold, moved, or transferred?
      Includechecking,savings, moneymarket, or otherfinancialaccounts; certificatesofdeposit;sharesin banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
          No
      D      Yes. Fill in the details.
       Name of Financial Institution and                         Last4 digits of             Type of account or         Date account was       Last balance
       Address (Number, Street, City, State andZIP               account number              instrument                 closed, sold,      before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21 Doyou nowhave, or didyou havewithin 1 yearbeforeyou filedfor bankruptcy, anysafedepositboxor otherdepositoryforsecurities,
      cash, or other valuables?

             No
      D      Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describethe contents             Do you still
       Address (Number, Street, City, State andZIPCode)              Address (Number, Street, City,                                         have it?
                                                                     Sow andzip code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
             No
      D     Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describethe contents             Do you still
       Address (Number,Street, City,StateandZIPCode)                 to it?                                                                 have it?
                                                                     Address (Numbw,Street,City,
                                                                     StateandZIPCode)

 Part 9:       Identi Pro e        You Hold or Control for Someone Else

23. Doyou hold or control any property thatsomeoneelse owns? Includeanyproperty you borrowedfrom, arestoringfor, or hold in trust
      for someone.


            No
      D    Yes. Fill in the details.
      Owner's Name                                                   Whereis the property?                 Describethe property                          Value
      Address (Number, Street, City, State andZIPCode)               (Number, Street, Ctty, StateandZIP
                                                                     Coda)

 Part 10: Give Details About Environmental Information

Forthe purpose of Part 10, thefollowing definitionsapply:

     Environmental lawmeansanyfederal,state, or local statute or regulation concerningpollution, contamination, releases of hazardousor
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Sitemeansanylocation,facility,or propertyasdefinedunderanyenvironmental law,whetheryounowown,operate,or utilizeit or used
     to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Reportall notices, releases, and proceedingsthatyou knowabout, regardlessofwhenthey occurred.



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                pages
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 Debtor 1      GRETCHENZAMJAHN                                                                               Case number (ifknown)



24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
      a     Yes. Fill in the details.
       Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
       Address (Number,Street,City, StateandZIPCode)              Address {Number, Street, City, State and      know it
                                                                  ziPCods)

25. Have you notified any governmental unit of any release of hazardous material?

            No
      a     Yes. Fill in the details.
       Name of site                                               Governmental unit                             Environmental law, if you         Date ofnotice
       Address {Number, Street, City, State and ZIPCode)          Address (Number,Street,City, Stateand         know it
                                                                  ZIPCoda)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
      D     Yes. Fill in the details.
       Case Title                                                 Court or agency                            Nature of the case                   Status of the
       Case Number                                                Name                                                                            ease
                                                                  Address (Number,Street,City,
                                                                  State andZIPCode)

 Part 11:    Give Details About Your Business or Connections to An Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            D A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            D A memberofa limited liabilitycompany(LLC)or limited liability partnership(LLP)
            D A partner in a partnership
            D An officer, director, or managingexecutiveofa corporation
            D An ownerof at least5%ofthevoting or equity securities ofa corporation
            No. None of the above applies. Go to Part 1 2.
      D Yes. Checkall thatapplyaboveandfill in the details belowforeachbusiness.
       Business Name                                         Describe the nature of the business                 Employer Identification number
      Address                                                                                                    Do not includeSocialSecurity numberor ITIN.
       (Number, Street, City, StateandZIPCode)               Nameofaccountantor bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone aboutyour business? Includeall financial
      institutions, creditors, or other parties.

            No
      D     Yes. Fill in the details below.
       Name                                                  Date Issued
      Address
      (Number, Street, City. State and ZIP Code)




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       pages
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 Debtor 1      GRETCHENZAMJAHN                                                                           Case number (ifknown)



 Part 12: Si n Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.


 GR TCHEN               M AH                                             Signature of Debtor 2
 Signature of 1

 Date           ^- 6^- ^/                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy {Official Form 107)?
   No
D Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
a No
    Yes. Name of Person             MARK BLUEMKE .Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                       Statementof FinancialAffairsfor IndividualsFilingfor Bankruptcy                          page?
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 Fill in this information to identify your case:

 Debtor 1                  GRETCHEN ZAMJAHN
                           First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:               DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                  D Check if this is an
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filin                                                       Under Cha ter7                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
              on the form

If two married people arefiling together in a joint case, both are equally responsiblefor supplying correct information. Both debtors must
              sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.




    Creditor's         LANDINGSCREDIT UNION                                   Surrender the property.                            No
    name:                                                                  D Retainthe propertyand redeem it.
                                                                           D Retain the property and enter into a           D Yes
    Description of 2015 MAZARATI GHIVIL1 35, 000                              ReafRrmation Agreement.
    property              miles                                            D Retain the property and [explain]:
    securing debt:

 Part 2                YourUnex i red Personal Pro e              Leases
hor any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).



 Lessor's name:                HONDAD FINANCIAL SERVICES                                                                 D No

                                                                                                                           Yes

 Description of leased         2017 HONDA CIVIC
 Property:




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 Debtor 1      GRETCHENZAMJAHN                                                                       Case number (ifknown)


 Part 3:      Si n Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is bject to an unexpired I ase.


       G ETCHEN                                                                         Signature of Debtor 2
       Signature of D

       Date                      S'- d 0/^1                                         Date




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